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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     BRIAN WHITAKER,                                     Case No. 21-cv-09361-JSW
                                                        Plaintiff,
                                   8
                                                                                             ORDER DISCHARGING ORDER TO
                                                  v.                                         SHOW CAUSE AND ORDERING
                                   9
                                                                                             DISCOVERY ON STANDING
                                  10     PEETS COFFEE, INC.,
                                                                                             Re: Dkt. No. 20
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court has received Plaintiff’s response to the Order to Show Cause issued on May 16,

                                  14   2022. The Court DISCHARGES the Order to Show Cause. The Court will accept Plaintiff’s

                                  15   amended complaint for filing. However, the Court HEREBY ORDERS jurisdictional discovery,

                                  16   in the form of a deposition, on Plaintiff’s standing to seek injunctive relief. The Court will toll

                                  17   Defendant’s time to answer or otherwise respond until after that deposition is complete. The

                                  18   Court will not require Plaintiff to travel to the Bay Area to participate in the deposition.

                                  19          That deposition shall be completed by no later than July 1, 2022. Defendant shall either

                                  20   answer or file a motion to dismiss by no later than July 15, 2022. If Defendant moves to dismiss,

                                  21   the briefing schedule set forth in the Northern District Civil Local Rules will govern. Defendant

                                  22   need not notice a hearing date. The Court will consider the parties’ papers and determine if an

                                  23   evidentiary hearing on standing is warranted.

                                  24          IT IS SO ORDERED.

                                  25   Dated: May 31, 2022

                                  26                                                     ______________________________________
                                                                                         JEFFREY S. WHITE
                                  27                                                     United States District Judge
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